                Case:
ILND 450 (Rev. 10/13)    1:19-cv-07835
                      Judgment in a Civil Action   Document #: 24 Filed: 08/04/20 Page 1 of 1 PageID #:176

                                         IN THE UNITED STATES DISTRICT COURT
                                                       FOR THE
                                            NORTHERN DISTRICT OF ILLINOIS

Bowcon Company Inc                 ,

Plaintiff(s),
                                                                    Case No. 19 C 7835
v.                                                                  Judge Harry D. Leinenweber

Ismail Mohammed ,

Defendant(s).

                                                     JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                    in favor of plaintiff(s) Bowcon Company Inc
                    and against defendant(s) Ismail Mohammed
                    in the amount of $1,882,243.30 ,

                       which        includes interest at the rate of $6.70 per day from August 4, 2020 until the date
that the judgment is satisfied in full pre–judgment interest.
                                    does not include pre–judgment interest.

          Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

          Plaintiff(s) shall recover costs from defendant(s).


                    in favor of defendant(s)
                    and against plaintiff(s)
.
          Defendant(s) shall recover costs from plaintiff(s).


                    other:

This action was (check one):

     tried by a jury with Judge Harry D. Leinenweber presiding, and the jury has rendered a verdict.
     tried by Judge Harry D. Leinenweber without a jury and the above decision was reached.
     decided by Judge Harry D. Leinenweber on a motion.



Date: 8/4/2020                                                   Thomas G. Bruton, Clerk of Court

                                                                 Melanie A. Foster, Deputy Clerk
